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  1       Curriculum Vitae of Jared P. Dempsey, PhD                     000001-17

  2       Speckmann, Erwin-Josef et al., Introduction to the            000018-33
          Neurophysiological Basis of the EEG and DC
          Potentials, ELECTROENCEPHALOGRAPHY: BASIC
          PRINCIPLES, CLINICAL APPLICATIONS, AND RELATED
          FIELDS Chap. 2, 15-27 (Lippincott Williams &
          Wilkins, 4th ed. 1999)
  3       EEG (electroencephalogram),                                   000033-42
          https://www.mayoclinic.org/tests-
          procedures/eeg/about/pac-20393875 (last visited
          Apr. 16, 2024)
  4       Steriade, Mircea, Cellular Substrates of Brain                000043-90
          Rhythms, ELECTROENCEPHALOGRAPHY: BASIC
          PRINCIPLES, CLINICAL APPLICATIONS, AND RELATED
          FIELDS, Chap. 3, 28-75 (Lippincott Williams &
          Wilkins, 4th ed. 1999)
  5       Ince, Rumeysa et al., The inventor of                         000091-92
          electroencephalography (EEG): Hans Berger (1873-
          1941), 37 CHILD’S NERVOUS SYSTEM 2723-24 (2021)
  6       Adrian, E.D. & Matthews, B.H.C., The Interpretation           000093-124
          of Potential Waves In The Cortex, 81 The Journal of
          Physiology 440-71 (1934)
  7       Will, Udo & Berg, Eric, Brain Wave synchronization            000125-130
          and entrainment to periodic acoustic stimuli, 424
          Neuroscience Letters 55-60 (2007)
  8       Gavalas, R.J. et al., Effect of Low-Level, Low-               000131-141
          Frequency Electric Fields on EEG and Behavior in
          Macaca Nemestrina, 18 BRAIN RESEARCH 491-501
          (1970)
  9       Bawin, S.M. et al., Effects of Modulated Very High            000142-161
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          58 BRAIN RESEARCH 365-84 (1974)


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10     Bell, Glenn B. et al., Frequency-specific Responses in       000162-168
       the Human Brian Caused by Electromagnetic Fields,
       123 JOURNAL OF THE NEUROLOGICAL SCIENCES 26-32
       (1994)
11     Cook, Charles M. et al., Resting EEG Effects During          000169-178
       Exposure to a Pulsed ELF Magnetic Field, 26
       BIOELECTROMAGNETICS 367-76 (2005)
12     Arns, Martijn et al., Electroencephalographic,               000179-198
       Personality, & Executive Function Measures
       Associated with Frequent Mobile Phone Use, 117
       Int’l Journal of Neuroscience 1341-60 (2007;
       received June 1, 2006
13     Klimesch, Wolfgang et al, SHORT                              000199-203
       COMMUNICATION: Enhancing cognitive
       performance with repetitive transcranial magnetic
       stimulation at human individual alpha frequency, 17
       EUROPEAN JOURNAL OF NEUROSCIENCE, 1129-33
       (2003)
14     U.S. Pat. App. Pub. 2005/0256539A1 (Nov. 17,                 000204-227
       2005)
15     Yi Jin et al., Therapeutic Effects of Individualized         000228-233
       Alpha Frequency Transcranial Magnetic Stimulation
       (⍺TMS) on the Negative Symptoms of Schizophrenia,
       32 SCHIZOPHRENIA BULLETIN 556-61 at 556 (Oct. 27,
       2005)
16     Horvath, Jared C. et al, Transcranial Magnetic               000234-240
       Stimulation: A Historical evaluation and future
       prognosis of therapeutically relevant ethical
       concerns, 37 JOURNAL OF MEDICAL ETHICS 137-43
17     Lisanby, Sarah H., Transcranial Magnetic                     000241-243
       Stimulation in Psychiatry: historical reflections and
       future directions, 19 BIOLOGICAL PSYCHIATRY
       486-90 (Mar. 15, 2024)
18     Geller et al., Slow Magnetic Stimulation Of                  000244-249
       Prefrontal Cortex In Depression and Schizophrenia,



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       21 PROGRESS IN NEURO-PSYCHOPHARMACOLOGY &
       BIOLOGICAL PSYCHIATRY 105-10 (1997)
19     McLain, Natalie J. et al., Analytic Consistency and         000250-263
       neural correlates of peak alpha frequency in the
       study of pain,368 JOURNAL OF NEUROSCIENCE
       METHODS 3-4 (2021))
20     Klimesch, Wolfgang, EEG Alpha and Theta                     000264-290
       Oscillations Reflect Cognitive and Memory
       Performance: a review and analysis, 29 Brain
       Research Reviews, 169-95 (1999)
21     Notbohm, Annika et al., Modification of Brain               000291-302
       Oscillations via Rhythmic Light stimulation Provides
       Evidence for Entrainment but Not for Superposition
       of Event-Related Responses, 10 FRONTIERS IN
       HUMAN NEUROSCIENCE Article 10 (2016)
22     Ding, Nai et al., Cortical entrainment to continuous        000303-309
       speech: functional roles and interpretations, 8
       FRONTIERS IN HUMAN NEUROSCIENCE Article 311
       (2014)
23     Thaut, Michael H. et al, The discovery of human             000310-323
       auditory-motor entrainment and its role in the
       development of neurologic music therapy, 217
       PROGRESS IN BRAIN RESEARCH Chap. 13, 253-66
       (2015)
24     Okamura, Hisataka et al., EEG Modification Induced          000324-331
       by Repetitive Transcranial Magnetic Stimulation, 18
       JOURNAL OF CLINICAL NEUROPHYSIOLOGY 318-25
       (2001)
25     Thut, Gregor et al., Rhythmic TMS causes local              000332-341
       entrainment of natural oscillatory signatures, 21
       CURRENT BIOLOGY 1176-85 (2011)
26     Faller, Josef et al., Daily prefrontal closed-loop          000342-375
       repetitive transcranial magnetic stimulation (rTMS)
       produces progressive EEG quasi-alpha phase
       entrainment in depressed adults, BRAIN STIMUL.
       (2022)


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27     Tooley, Michael, Electronic Circuits, Fundamentals 000376-382
       and Applications, at 74-75 (Newnes 2d. ed. 2002)
28     Jin, Yi et al., Alpha EEG Selectivity Predicts Efficacy 000383-385
       Of RTMS In Schizophrenia, ABSTRACTS OF THE XX
       INTERNATIONAL CONGRESS ON SCHIZOPHRENIA
       RESEARCH at 455 (2005)
29     Jin, Y. et al., Improvement in Alpha EEG Selectivity    000386-387
       and Negative Symptoms in Schizophrenia Following
       rTMS Treatment, 35:4 CLINICAL EEG &
       NEUROSCIENCE 224-25 (Wheaton 2004)




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                               Curriculum Vitae
                            Jared P. Dempsey, Ph.D.

                    Cellular:     (405) 269-3440
                    E-Mail:       dempsey@recoveryscience.org
                    Address:      6405 107th, Ste 100
                                  Lubbock, TX 79424


CURRENT APPOINTMENT

Chief Scientist
Trac9.com, LLC
Lubbock, TX

EDUCATIONAL BACKGROUND

08/07 –08/08               NIAAA Postdoctoral Research Fellow
                           Center for Drug and Alcohol Programs
                           Medical University of South Carolina
                                     Research Preceptors: Carrie L. Randall, Ph.D.
                                                          Suzanne E. Thomas, Ph.D.

08/07                      Doctorate of Philosophy in Clinical Psychology
                           Texas Tech University, Lubbock, Texas
                           Dissertation Title: Smoking-Cue Modulation of the Startle
                                  Reflex and the Relationship to Stages of Change.
                                     Research Preceptor: Lee M. Cohen, Ph.D.

07/06 –08/07               Pre-Doctoral Internship in Clinical Psychology
                           Charleston Consortium Psychology Internship Program
                           Medical University of South Carolina
                                     Research Preceptors: Carrie L. Randall, Ph.D.
                                                          Suzanne E. Thomas, Ph.D.

06/04                      Masters of Arts, Psychology
                           Texas Tech University, Lubbock, Texas
                           Thesis Title: Predicting School Maladjustment in
                                   Peer-Victimized Children
                                      Research Preceptor: Gary D. Fireman, Ph.D.
05/02                      Bachelor of Arts, Psychology
                           California State University, Long Beach, California
                           Honors: Cum Laude




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05/00                      Associate in Arts
                           Orange Coast College, Costa Mesa, California
                           Honors: Phi Alpha Mu

PROFESSIONAL APPOINTMENTS

2016 – Present      Chief Scientist & Co-Founder
                    Trac9.com
                    Lubbock, TX

2024 – Present      Chief Science Officer & Co-Founder
                    Recovery Science, LLC
                    Lubbock, TX

2014 – 2024         Chief Science Officer & Co-Founder
                    NLW Partners, LLC
                    Lubbock, TX

2013 – 2014         Assistant Professor
                    Addictive Disorders and Recovery Studies Program
                    Department of Community, Family, and Addiction Services
                    Texas Tech University, Lubbock, TX

2011 – 2014         Core Faculty Member
                    Doctoral Program in Clinical Psychology
                    Fielding Graduate University, Santa Barbara, CA

2010 – 2011         Director, Psychological Services & Research
                    Center for Tobacco Research and Prevention (C-TRP)
                    Seretean Wellness Center
                    Oklahoma State University, Stillwater, OK

2008 – 2011         Assistant Professor
                    Department of Psychology
                    Oklahoma State University, Stillwater, OK

2007 – 2008         Post-Doctoral Fellow
                    Center for Drug and Alcohol Problems
                    Medical University of South Carolina, Charleston, SC

2007 – 2008         Adjunct Faculty
                    Department of Psychology
                    The Citadel, Charleston, SC




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2006 – 2008      Adjunct Faculty
                 Department of Psychology
                 College of Charleston, Charleston, SC

2006 – 2007      Clinical Psychology Intern
                 National Crime Victims Center
                 Medical University of South Carolina, Charleston, SC

2003 – 2006      Graduate Research Assistant
                 Graduate Psychology Education Grant (HRSA)
                 Texas Tech University, Lubbock, TX

2003 – 2006      Graduate Teaching Assistant
                 Department of Psychology
                 Texas Tech University, Lubbock, TX

2004 – 2006      Graduate Research Assistant & Clinical Intern
                 Neuropsychiatry Department (Dr. Patricia Sutker)
                 Texas Tech University Health Sciences Center, Lubbock, TX

2002 – 2004      Graduate Research Assistant
                 Behavioral Pharmacology Laboratory (Dr. Lee Cohen)
                 Texas Tech University, Lubbock, TX

2002 – 2004      Research Assistant
                 Violence Prevention Laboratory (Dr. Gary Fireman)
                 Texas Tech University, Lubbock, TX

2000 – 2002      Applied Behavioral Analysis Therapist
                 Lovaas Institute for Early Intervention
                 Las Angeles, CA

2000 – 2002      Information Technology Specialist
                 Virtual Microscopy Neuroscience Laboratory
                 California State University, Long Beach, CA

SERVICE ACTIVITIES

2012 – 2014      Chair, Educational Technology Committee
                 School of Psychology
                 Fielding Graduate University, Santa Barbara, CA

2005 – 2014      Editorial Board: Journal of Psychopathology and Behavioral Assessment

2009 – 2011      Board Member: Tobacco & Health Advisory Board
                 Oklahoma State University, Stillwater, OK




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2009 – 2011          Faculty Advisor: Psi Chi - The International Honor Society in Psychology
                     Oklahoma State University, Stillwater, OK

2008 – 2010          Committee Member: The Committee to Promote Student Interest
                     The Society for Psychophysiological Research

2008 – 2010          Committee Member: Turskey Travel Award
                     The Society for Psychophysiological Research

AWARDS/HONORS

   •   2014: Honored Faculty Mentor, Phi Beta Kappa
              Texas Tech University, Lubbock, TX
   •   2009: Supportive Faculty Award, Non-Traditional Student Organization
              Oklahoma State University, Stillwater, OK
   •   2009: College of Arts and Sciences Summer Research Funding and Travel
              Oklahoma State University, Stillwater, OK
   •   2009: College of Arts and Sciences Travel Award
              Oklahoma State University, Stillwater, OK
   •   2008: Minority Researcher Grantsmanship Travel Award
              National Institute of Neurological Disorders and Stroke
              National Institutes of Health, Bethesda, MD
   •   2007: Best Psychology Intern Research Paper
              Institute of Psychiatry and Behavioral Sciences
              Medical University of South Carolina, Charleston, SC
   •   2006: Exceptional Graduate Research in Clinical Psychology
              Texas Tech University, Lubbock, TX
   •   2005: Clay E. George Endowed Scholarship
              Texas Tech University, Lubbock, TX
   •   02-06: Department of Psychology Competitive Scholarship (2002, 04, 05, 06)
              Texas Tech University, Lubbock, TX

SECURED GRANTS & FUNDRAISING

Functional Near-Infrared Assessment of Addiction Recovery
Funding Agency: The National Foundation for Collegiate Recovery
                   Southlake, TX
Principal Investigator:       Jared P. Dempsey
Funding Dates:                2014 – 2015
Total Direct Costs:           $94,161

Development of a Biological Marker of Addiction
Funding Agency: Office of Research
                College of Human Sciences
                Texas Tech University, Lubbock, TX



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Principal Investigator:    Jared P. Dempsey
Funding Dates:             2013 – 2014
Total Direct Costs:        $5,000

Research & Publications Associated with Smoke-Free Campus Status
Funding Agency: Sub Award - Tobacco Settlement Endowment Trust
                   Seretean Wellness Center, Oklahoma State University
                   Oklahoma State University, Stillwater, Oklahoma
Principal Investigator:      Jared P. Dempsey
Funding Dates:               July 2010 – June 2011
Total Direct Costs:          $15,686

Efficacy and Perception Change Associated with Smoke-Free Campus Status
Funding Agency: Sub Award - Tobacco Settlement Endowment Trust
                   Seretean Wellness Center, Oklahoma State University
                   Oklahoma State University, Stillwater, Oklahoma
Principal Investigator:      Jared P. Dempsey
Funding Dates:               September 2009 – June 2010
Total Direct Costs:          $16,796

Science-Based Smoking Cessation Kits for Oklahoma State University
Funding Agency: GlaxoSmithKline, PLC
                   Philadelphia, PA
Principal Investigator:       Jared P. Dempsey
Funding Date:                 October 2009
Total Direct Costs:           500 GSK Quit Kits

Kick-Tobacco: A Self-help Tobacco Cessation Kit
Funding Agency: Seretean Wellness Center, Oklahoma State University
                  Oklahoma State University, Stillwater, Oklahoma
Principal Investigator:     Jared P. Dempsey
Funding Dates:              September 2009 – June 2010
Total Direct Costs:         $6,650

International Research Presentation Funding: Student Exposure to Science
Location: The Society for Psychophysiological Research, Berlin, Germany
Funding Agency: Oklahoma State University Foundation
                   Stillwater, Oklahoma
Principal Investigator:        Jared P. Dempsey
Funding Date:                  October 2009
Total Direct Costs:            $5,000

International Research Presentation Funding: Student Exposure to Science
Location: The Society for Psychophysiological Research, Berlin, Germany
Funding Agency: Office of the Vice President for Research and Technology Transfer
                 Oklahoma State University, Stillwater, Oklahoma




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Principal Investigator:     Jared P. Dempsey
Funding Date:               October 2009
Total Direct Costs:         $5,000

SUPERVISED GRANTS & AWARDS

CALUE Undergraduate Research Award
Center for Active Learning & Undergraduate Engagement, Texas Tech University
Study: Depression and PFC Activity in Addiction Recovery
Awarded Scholar:            Ryan A. Burden
Supervising Scientist:      Jared P. Dempsey, Ph.D.
Funding Dates:              September 2014
Total Direct Costs:          $1,080

CALUE Undergraduate Research Award
Center for Active Learning & Undergraduate Engagement, Texas Tech University
Study: Frontal Lobe Functioning in Successful Addiction Recovery
Awarded Scholar:            C. Jarod Herrera
Supervising Scientist:      Jared P. Dempsey, Ph.D.
Funding Dates:               January 2014
Total Direct Costs:          $1,080

Morris K. Udall & Stewart L. Udall Foundation Scholarship
Study: Culturally Sensitive Smoking Cessation Treatment for Native Americans
Awarded Scholar:             Brooke N. Hill
Supervising Scientist:       Jared P. Dempsey, Ph.D.
Funding Dates:                August 2010
Total Direct Costs:           $5,000

Lew Wentz Research Scholar Award
Study: Neurologically Assessed Smoking Cessation and the Role of Psychopathic Traits
Office of Scholar Development and Recognition, Oklahoma State University
Awarded Scholar:            Stephanie Kline
Supervising Scientist:      Jared P. Dempsey, Ph.D.
unding Dates:               August 2010 – July 2010
Total Direct Costs:          $4,500

Niblack Research Scholar
Study: Image Orientation and Physiologically-Assessed Appetitive Nature of Drug Cues
Office of the Vice President for Research and Technology, Oklahoma State University
Awarded Scholar:              Brooke N. Hill
Supervising Scientist:        Jared P. Dempsey, Ph.D.
Funding Dates:                 August 2009 – July 2010
Total Direct Costs:            $10,100




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Lew Wentz Research Scholar Award
Study: Depression Severity as a Moderating Variable in Drug Cue Appetitive Responding
Office of Scholar Development and Recognition, Oklahoma State University
Awarded Scholar:             David E. Lovett
Supervising Scientist:       Jared P. Dempsey, Ph.D.
Funding Dates:               August 2009 – July 2010
Total Direct Costs:          $4,500

Lew Wentz Research Scholar Award
Study: Electromyography Assessed Gastric Impairment in Recovered Eating Disorders
Office of Scholar Development and Recognition, Oklahoma State University
Awarded Scholar:           Devon E. Eldridge
Supervising Scientist:     Jared P. Dempsey, Ph.D.
Funding Dates:              August 2009 – July 2010
Total Direct Costs:         $4,500

GRANT SUBMISSIONS & ACTIVITY

Contingency Management and Prefrontal Cortex Activation Changes in Alcohol Use
Disorder: Delay Discounting as a Mechanism of Change.
Funding Agency: National Institute on Alcohol Abuse and Alcoholism (PA-15-301)
Role: Co-PI
Proposed Funding Dates: 2015-2017
Total Project Funds Requested: $275,000
Status: Under Review

A Bio-Behavioral Model of Financial Misbehavior Drawing from Behavioral Theories of
Incentive Salience and Personality Theories of Empathy.
Funding Agency: National Science Foundation (Proposal 14-0027)
                  Interdisciplinary Behavioral and Social Science Research (IBSS)
Role: Subcontracting PI
Proposed Funding Dates: 2014-2016
Requested Subcontract Funds: $45,000
Total Project Funds Requested: $203,850
Status: Unfunded

National Science Foundation (Proposal 7216806)
Functional Near-Infrared Spectroscopy Assessment of Reading Acquisition in Hispanic Children
Role: Co-PI
Proposed Funding Dates: 2012-2013
Requested Funds: $500,000
Status: Rejected for review due to administrative error during FastLane submission




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Sarkeys Foundation
Study: Mobile Mental Health for Rural Populations
Role: PI/Applicant
Proposed Funding Dates: 2009-2011
Requested Funds: $371,305
Status: Selected for Funding. All projects funds diverted for funding round.


The Foundation for Alcohol Research (ABMRF)
Study: Psychological Response to Drug Cues as Treatment Effect in Alcohol Dependence
Role: PI/Applicant
Proposed Funding Dates: 2009-2011
Requested Funds: $250,000
Status: Scored, Unfunded

Oklahoma Center for the Advancement of Science & Technology (OCAST)
Study: A New Test of Smoking Cessation Treatment Effectiveness
Role: PI/Applicant
Proposed Funding Dates: 2009-2012
Requested Funds: $230,000
Status: Unfunded

National Institute on Alcohol Abuse & Alcoholism (NIH NIAAA 1 R21AA018165-01)
Psychological Response to Drug Cues as Treatment Effect in Alcohol Dependence
Role: PI/Applicant
Proposed Funding Dates: 2009-2011
Requested Funds: $250,000
Status: Scored, Unfunded

PROFESSIONAL AFFILIATIONS

   •    American Psychological Association
   •    Division of Psychopharmacology and Substance Abuse: American Psychological
        Association
   •    Research Society on Alcoholism
   •    Sigma Xi – The Scientific Research Society
   •    Society for Psychophysiological Research




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PUBLICATIONS (Peer-Refereed)

Rodriguez-Menendez, G., Dempsey, J.P., Albizu, T., Power, S., & Wilkerson, M.C. (2017).
      Faculty and Student Perceptions of Clinical Training Experiences in Professional
      Psychology. Training and Education in Professional Psychology, 11(1): 1-9.

Dempsey, J.P., Harris, K.S., Shumway, S.T., Kimball, T.G., Herrera, J.C., Bradshaw, S., Dsauza,
     C.M. (2015). Functional Near Infrared Spectroscopy as a Potential Biological Assessment
     of Addiction Recovery: Preliminary Findings. The American Journal of Drug and Alcohol
     Abuse, 41(2):119-26.

Lechner, W., Grant, D., Meier, E., Mills, A., Judah, M., & Dempsey, J.P. (2014). The Influence
      of Stress on the Affective Modulation of the Startle Response to Nicotine Cues. Applied
      Psychophysiology and Biofeedback, 39(3-4), 279-285. doi: 10.1007/s10484-014-9266-5

Dempsey, J. P., Cohen, L. M., Watson, N. L., Lechner, W. V., Hobson, V. L., & Smith, K. (2011).
     The Association of Blood Pressure and the Risk of Alcohol Use Disorders Among
     Smokers: Implications for Screening and Treatment. Alcoholism Treatment Quarterly,
     29(2), 123-131.

Dempsey, J. P., & Cohen, L. M. (2010). Commentary on Hajek et al. (2010): Investigating the
     stress reduction in smoking cessation. Addiction, 105(8), 1472-1473.

Book, S. W., Thomas, S. E., Dempsey, J. P., Randall, P. K., & Randall, C. L. (2009). Social
      anxiety impacts willingness to participate in addiction treatment. Addictive Behaviors,
      34(5), 474-476.

Dempsey, J. P., Randall, P. K., Thomas, S. E., Book, S. W., & Carrigan, M. H. (2009).
     Treatment of social anxiety with paroxetine: mediation of changes in anxiety and
     depression symptoms. Comprehensive Psychiatry, 50(2), 135-141.

Dempsey, J. P., Back, S. E., Waldrop, A. E., Jenkins, L., & Brady, K. T. (2008). The Influence of
     Monetary Compensation on Relapse among Addicted Participants: Empirical vs.
     Anecdotal Evidence. American Journal on Addictions, 17(6), 488 - 490.

Morrell, H. E. R., Cohen, L. M., & Dempsey, J. P. (2008). Smoking prevalence and awareness
       among undergraduate and health care students. The American Journal on Addictions,
       17(3), 181-186.

Dempsey, J. P., Cohen, L. M., Hobson, V. L., & Randall, P. K. (2007). Appetitive nature of
     drug cues re-confirmed with physiological measures and the potential role of stage of
     change. Psychopharmacology, 194(2), 253-260.

Dempsey, J. P., Fireman, G. D., & Wang, E. M. (2006). Transitioning out of peer victimization
     in school children: gender and behavioral characteristics. Journal of Psychopathology and
     Behavioral Assessment, 28(4), 271-280.




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PUBLICATIONS (Non-Refereed)

Davis, M., Duncan, N., & Dempsey, J. P. (2011) International Drug Policies: Sanctions and
       Economic Assistance. In M. Kleiman & J. Howard (Eds.), Encyclopedia of Drug Policy:
       The War on Drugs Past and Present. Thousand Oaks, Calif.: Sage Publications.

Ardrey, T., Hill, B.N., Kline, S. & Dempsey, J. P. (2011) Oklahoma Drug Law & Policy. In M.
       Kleiman & J. Howard (Eds.), Encyclopedia of Drug Policy: The War on Drugs Past and
       Present. Thousand Oaks, Calif.: Sage Publications.

Ardrey, T., Hill, B.N., Kline, S. & Dempsey, J. P. (2011). Presidential Commission on Narcotics
       and Drug Abuse. In M. Kleiman & J. Howard (Eds.), Encyclopedia of Drug Policy: The
       War on Drugs Past and Present. Thousand Oaks, Calif.: Sage Publications.

Dempsey, J. P. (2009, December 01). Consultation in oral surgery & medicine: Quitting
     chewing tobacco - The Great American Spit-out. Dear Doctor, 3, 54-55.

Amstadter, A. B., Dempsey, J. P., Watson, N. L., & Hubel, G. S. (2009). Co-occurring anxiety
      disorders and substance use disorders. In G. L. Fisher & N. A. Roget (Eds.),
      Encyclopedia of substance abuse prevention, treatment, and recovery. Thousand Oaks,
      Calif.: Sage Publications.

Dempsey, J. P., Amstadter, A. B., Hubel, G. S., & Watson, N. L. (2009). Cognitive behavioral
     therapy in substance use disorders. In G. L. Fisher & N. A. Roget (Eds.), Encyclopedia of
     substance abuse prevention, treatment, and recovery. Thousand Oaks, Calif.: Sage
     Publications.

Hobson, V. L., & Dempsey, J. P. (2009). Alcohol related birth defects. In G. L. Fisher & N. A.
      Roget (Eds.), Encyclopedia of substance abuse prevention, treatment, and recovery.
      Thousand Oaks, Calif.: Sage Publications.

Dempsey, J. P., Fireman, G. D., & Fireman, S. E. (2005). Elder neglect. In S. Gelman, L.
     Marigolds, A. Huston, M. Zimmerman, M. E. Lachman, W. Dunn, T. Saxon, J. Raths, R.
     Thompson & M. Thompson (Eds.), The Encyclopedia of Human Development. Thousand
     Oaks, CA: SAGE Publications.

PROFESSIONAL PRESENTATIONS

Dempsey, J. P. (2019, October). The Importance of Standardized Assessments: Predicting
     Treatment Failure and Success. Keynote Address at the Oklahoma Drug & Alcohol
     Professional Counselor Association Annual Conference, Norman, OK.

McCabe, P., Dempsey, J. P., King, B., & Yingst (2019, August), J. Vaping and Smoking Cessation
     – Can You Use an E-Cig to Quit Smoking? Do Treatment Programs offer them as an
     alternative or should they be banned? Symposium conducted at the National Conference
     on Addiction Disorders – East, Baltimore, MD.



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Dempsey, J. P. & Rauber, R. (2019, April). The Importance of Collegiate and Young Adult
     Substance Use Disorder Treatment in the Justice System. Symposium at the Texas
     Association of Specialty Courts Annual Conference, Galveston, TX.

Dempsey, J. P. (2019, April). The Importance of Standardized Assessments & Outcomes for
     Successful Addiction Recovery. Keynote Address at the Annual Conference of Texas
     Association of Addiction Professionals, Fort Worth, TX.

Harris, K. S. & Dempsey, J. P. (2016, April). Resilience, Recovery, and Neuroscience: Why
        Collegiate Recovery Works. Symposium conducted at the 7th Annual National Collegiate
        Recovery Conference, Atlanta, GA.


Rodriguez-Menendez, G., Dempsey, J. P., Albizu, T., Bridges-Power, S., & Haldeman, D. (2015,
      August). Innovations in the Science and Art of Clinical Supervision. Symposium
      conducted at the Annual Convention of the American Psychological Association, Toronto,
      ON, Canada.

Laban, M. & Dempsey, J. P. (2014, August). Assessment of ADHD in Clinical Practice. Poster
       presented at the Annual Convention of the American Psychological Association,
       Washington, D.C.

Dempsey, J. P. (2014, April). The Neuroscience of Addiction and Recovery. Invited guest
     presentation at Kennesaw State University’s Center for Young Adult Addiction and
     Recovery’s Pathway to Understanding Conference, Kennesaw, GA.

Dempsey, J. P. (2014, February). Addiction Recovery and Advances in Biological Markers.
     Invited guest presentation at Texas Tech University’s Addiction Recovery Conference,
     Lubbock, TX.

VanderVeen, J., Watson, N. L., Sawyer, H., Hanft, A., Dempsey, J. P., & Cohen, L. (2010,
      November). The influence of binge drinking and impulsivity on cue response among
      nicotine dependent college students. Poster presented at the 44th Annual Convention of the
      Association for Behavioral and Cognitive Therapies, San Francisco, CA.

Eldridge, E. D., Dempsey, J. P., Chee, L., Kline, S. & Cavett, C. (2010, October). The Effects of
       Eating Disorders on Gastric Motility. Poster accepted for presentation at the annual
       meeting of the Society for Psychophysiological Research, Portland, Oregon.

Dempsey, J. P. (2010, July 16th). The college smoker, mental health, and current advances in
     tobacco research techniques. Invited Presentation for the Oklahoma State Regents for
     Higher Education and Community Partners – Tobacco Free College Symposium, Midwest
     City, OK.

Claborn, K. R., Dempsey, J. P., Jaquez, S. D., Junghans, A. N., Hill, B. N., Lechner, W. V., Cohen,
       L.M. & al’Absi, Mustafsa (2009, October). Cotinine as a potential predictor of increased



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       anxiety during nicotine withdrawal. Poster presented at the annual meeting of the Society
       for Psychophysiological Research, Berlin, Germany.

Eldridge, E. D., Dempsey, J. P., Hughes, S.T., Lovett, D. E., Hornyik, C. D. & Cohen, L.M. (2009,
       October). Social deviance and startle modulation: Different results for different measures
       of psychopathy. Poster presented at the annual meeting of the Society for
       Psychophysiological Research, Berlin, Germany.

Hornyik, C. D., Dempsey, J. P., Lovett, D. E., Eldridge, E. D., Junghans, A. N., Grigsby, R. G.,
      Hill, B. N., Abramson C. I. & Cohen, L. M. (2009, October). Affective range vs. mean: A
      novel method for understanding atypical affective modulation of the startle reflex. Poster
      presented at the annual meeting of the Society for Psychophysiological Research, Berlin,
      Germany.

Jaquez, S. D., Dempsey, J. P., Junghans, A. N., Claborn, K. R., Kaplan, J. M., Lechner, W. V. &
       Cohen, L.M. (2009, October). Cardiovascular activity and process of change in nicotine
       withdrawal. Poster presented at the annual meeting of the Society for Psychophysiological
       Research, Berlin, Germany.
Junghans, A. N., Dempsey, J. P., Claborn, K. R., Jaquez, S.D., Lovett, D. E., Grigsby, R. G.,
       Lechner, W. V., & Cohen, L.M. (2009, October). Independent contribution of anxiety in
       nicotine withdrawal-induced cardiac deceleration. Poster presented at the annual meeting
       of the Society for Psychophysiological Research, Berlin, Germany.

Lovett, D. E., Dempsey J. P., Hornyik, C. D., Junghans, A. N., Eldridge, E. D., Kaplan, J. M. &
        Cohen, L. M. (2009, October). Atypical affective modulation of startle and symptoms of
        depression. Poster presented at the annual meeting of the Society for Psychophysiological
        Research, Berlin, Germany.

Junghans, A. E., Lovett, D. E., Eldridge, E. D., Grant, D. M. & Dempsey, J. P. (2009, November).
      Smoking to cope with social anxiety: A preliminary investigation. Poster presented at the
      annual convention of the Association for Behavioral and Cognitive Therapies, New York,
      NY.

Dempsey, J. P., (2009, June). Federal grant navigation and funding opportunities for students.
     Invited workshop presented to the American Indians Into Psychology program,
     Oklahoma State University, Stillwater, OK.

Hobson, V. L., Dempsey, J. P., Cohen, L. M. & Watson, N.L. (2008) Blood Pressure is
      Associated with Risk of Alcohol use Disorder in Smoking College Students. Poster
      presented at the annual meeting of the Society for Psychophysiological Research, Austin,
      Texas.

Dempsey, J. P., Thomas, S. E. & Randall, C. L. (2007) Drinking to cope before, during, and
     after social events: Gender differences in socially anxious alcoholics. Alcoholism-Clinical
     and Experimental Research, 31(6), 41A.




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Bacchi, D. R., McDougal, K. M. & Dempsey, J. P. (2006, November) Utilization of quit kits
       among tobacco-using college students. Poster presented at the annual convention of the
       American Public Health Association, Boston, Massachusetts.

Dempsey, J. P., Hobson, V. L., Cohen, L. M. & Bacchi D. R. (2006, October) Appetitive
     nature of smoking-cues reconfirmed with physiological measures: The role of stage
     of change. Poster presented at the annual meeting of the Society for
     Psychophysiological Research, Vancouver, BC, Canada.

Hobson, V. L., Dempsey, J. P., Cohen, L. M., Bacchi, D. R. & Jaeger, M. L. (2006, October)
      Order influences by picture type in affective modulation of the startle reflex: Does
      randomization remove all influence? Poster presented at the annual meeting of the
      Society for Psychophysiological Research, Vancouver, BC, Canada.

Humphreys, J., Dempsey, J. P., Sutker, P. B. & O'Bryant, S. E. (2006, September) Convergent
     validity of the repeatable battery for the assessment of neuropsychological status in a
     memory disorder clinic sample. Archives of Clinical Neuropsychology, 21(6), 557-558.

Silva, M. E., Humphreys, J., Dempsey, J. P., Sutker, P. B. & O'Bryant, S. E. (2006, September)
       Test-retest reliability of the repeatable battery for the assessment of neuropsychological
       status in a memory disorder clinic sample. Archives of Clinical Neuropsychology, 21(6),
       560-561.

Dempsey, J. P., Hobson, V. L., Rhodes, A. A., Harris, J. E., Kerr, L. A. & Cohen, L. M. (2005,
     November) Differences in cortisol production at varying levels of nicotine
     deprivation. Poster presented at the annual convention of the Texas Psychological
     Association, Houston, Texas.

Dempsey, J. P., Davis, K. E., Hobson, V. L., Cohen, L. M. & Borrego, J. R. (2005, November).
     Changes in perception of underserved populations through a behavioral medicine
     practicum experience: The graduate psychology education program. Poster presented at the
     annual convention of the Association for Behavioral and Cognitive Therapies, Washington,
     DC.

PROFESSIONAL ACTIVITIES

09/14                 Invited Reviewer: Motivation & Emotion

12/13                 Invited Reviewer: Nicotine & Tobacco Research

02/12                 Invited Reviewer: Psychopharmacology

09/11                 Invited Reviewer: American Journal on Addictions

11/10                 Invited Reviewer: Nicotine & Tobacco Research




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09/10                Invited Reviewer: Addiction

08/10                Invited Reviewer: Addiction

08/10                Invited Reviewer: Psychiatry Research

05/10                Invited Reviewer: Psychophysiology

04/10                Invited Reviewer: Addiction

04/10                Invited Reviewer: American Journal on Addictions

12/09                Invited Reviewer: Addiction

12/09                Invited Reviewer: Psychiatry Research

11/09                Invited Reviewer: Addiction

11/09                Invited Reviewer: American Journal on Addictions

09/09                Invited Reviewer: American Journal on Addictions

09/09                Invited Reviewer: Addiction

07/09                Invited Reviewer: European Psychiatry

06/09                Invited Reviewer: European Psychiatry

12/08                Invited Reviewer: Journal of Studies on Alcohol and Drugs

12/08                Invited Reviewer: American Journal on Addictions

07/08                Invited Reviewer: American Journal on Addictions

03/08                Professional Development Workshop for Diversity Investigators
                     National Institute on Neurological Disorders and Stroke, WA, DC.

10/07                NIAAA Postdoctoral Fellow Training Workshop, Indianapolis, IN

03/07                Invited Reviewer: Journal of Consulting and Clinical Psychology

06/05                Invited Reviewer: Journal of Abnormal Psychology

04/05                Invited Reviewer: Journal of Psychopathology and Behavioral
                     Assessment




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     EXHIBIT 3
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Why it's done
An EEG can find changes in brain activity that might be useful in diagnosing
brain disorders, especially epilepsy or another seizure disorder. An EEG might
also be helpful for diagnosing or treating:

    Brain tumors
    Brain damage from head injury
    Brain dysfunction that can have a variety of causes (encephalopathy)
    Sleep disorders
    Inflammation of the brain (herpes encephalitis)
    Stroke
    Sleep disorders
    Creutzfeldt-Jakob disease


An EEG might also be used to confirm brain death in someone in a persistent
coma. A continuous EEG is used to help find the right level of anesthesia for
someone in a medically induced coma.

More Information

Absence seizure

Amnesia

Cerebral palsy

Show more related information
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    Wash your hair the night before or the day of the test, but don't use
    conditioners, hair creams, sprays or styling gels. Hair products can make it
    harder for the sticky patches that hold the electrodes to adhere to your
    scalp.
    If you're supposed to sleep during your EEG, your health care provider might
    ask you to sleep less or avoid sleep the night before your EEG.




What you can expect
During the test
                     EEG electrodes
                     Enlarge image




You'll feel little or no discomfort during an EEG. The electrodes don't transmit
any sensations. They just record your brain waves.

Here are some things you can expect to happen during an EEG:

    A technician measures your head and marks your scalp with a special pencil
    to indicate where to attach the electrodes. These spots on your scalp might
    be scrubbed with a gritty cream to improve the quality of the recording.
    A technician attaches discs (electrodes) to your scalp using a special
    adhesive. Sometimes, an elastic cap fitted with electrodes is used instead.
    The electrodes are connected with wires to an instrument that amplifies the
    brain waves and records them on computer equipment.
    Once the electrodes are in place, an EEG typically takes between 20 and 40
    minutes. Testing for certain conditions requires you to sleep during the test.
    In that case, the test can be longer.
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    You relax in a comfortable position with your eyes closed during the test. At
    various times, the technician might ask you to open and close your eyes,
    perform a few simple calculations, read a paragraph, look at a picture,
    breathe deeply for a few minutes, or look at a flashing light.
    Video is routinely recorded during the EEG. Your body motions are
    captured by a video camera while the EEG records your brain waves. This
    combined recording can help your doctor diagnose and treat your
    condition.


Ambulatory EEGs (aEEGs) allow for longer monitoring outside an office or a
hospital setting. But these types of EEGs aren't always an option. This test can
record brain activity over several days, which increases the chances of recording
during seizure activity. However, compared with inpatient video EEG monitoring,
an ambulatory EEG is not as good at determining the difference between
epileptic seizures and nonepileptic seizures.

After the test

The technician removes the electrodes or cap. If you didn't have a sedative, you
should feel no side effects after the procedure. You should be able to return to
your typical routine.

If you used a sedative, it will take time for the medication to begin to wear off.
Arrange to have someone drive you home. Once you're at home, rest and don't
drive for the rest of the day.



Results
Doctors trained to analyze EEGs interpret the recording and send the results to
the doctor who ordered the EEG. You might need to schedule an office
appointment to discuss the results of the test.
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If possible, bring along a family member or friend to the appointment to help
you remember the information you're given.

Write down questions to ask your doctor, such as:

    Based on the results, what are my next steps?
    What follow-up, if any, do I need?
    Are there factors that might have affected the results of this test in some
    way?
    Will I need to repeat the test?




Clinical trials
Explore Mayo Clinic studies of tests and procedures to help prevent, detect,
treat or manage conditions.



The Mayo Clinic experience and patient stories
Our patients tell us that the quality of their interactions, our attention to detail
and the efficiency of their visits mean health care like they've never experienced.
See the stories of satisfied Mayo Clinic patients.

                       A graduation party reunion 15 years in the making




By Mayo Clinic Staff
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